









Dismissed and Memorandum Opinion filed January 31, 2006









Dismissed and Memorandum Opinion filed January 31,
2006.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-01175-CV

____________

&nbsp;

JULIE DEPAOLO,
Appellant

&nbsp;

V.

&nbsp;

TRAVELERS INSURANCE/ THE STANDARD
FIRE INSURANCE COMPANY, Appellee

&nbsp;



&nbsp;

On Appeal from the County Civil
Court at Law No. 3

Harris County ,
Texas

Trial Court Cause No.
812,562

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This appeal is from a judgment signed August 31, 2005.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On January 2, 2006, notification was transmitted to all
parties of the Court's intent to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed January 31, 2006.

Panel consists of Justices Hudson,
Frost, and Seymore.

&nbsp;





